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                                           UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                           No. 14-4662


        UNITED STATES OF AMERICA,

                             Plaintiff - Appellee,

                     v.

        DALIA MARQUEZ BERNAL,

                             Defendant - Appellant.



        Appeal from the United States District Court for the Middle
        District of North Carolina, at Greensboro. James A. Beaty, Jr.,
        Senior District Judge. (1:14-cr-00023-JAB-2)


        Submitted:      March 13, 2015                            Decided:   April 2, 2015


        Before WILKINSON, AGEE, and HARRIS, Circuit Judges.


        Affirmed by unpublished per curiam opinion.


        John Carlyle Sherrill, III, SHERRILL & CAMERON, PLLC, Salisbury,
        North Carolina, for Appellant.   Andrew Charles Cochran, OFFICE
        OF THE UNITED STATES ATTORNEY, Greensboro, North Carolina, for
        Appellee.


        Unpublished opinions are not binding precedent in this circuit.




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        PER CURIAM:

               Dalia Marquez Bernal appeals her sentence after pleading

        guilty to two counts of brandishing a firearm during and in

        relation to a crime of violence in violation of 18 U.S.C. §§ 2,

        924(c)(1)(A)(ii) (2012).             The district court sentenced Bernal to

        the statutory mandatory minimum consecutive prison terms of 84

        and    300    months,     totaling    384      months      or   32    years.      Bernal’s

        attorney has filed a brief under Anders v. California, 386 U.S.

        738 (1967), asserting that there are no meritorious grounds for

        appeal but raising the issue of whether the district court erred

        in sentencing her to 384 months in prison, including a claim

        that her sentence is disproportionate in violation of the Eighth

        Amendment.        Bernal has filed a pro se supplemental brief raising

        the additional issues of whether her guilty plea was knowing and

        voluntary, and whether counsel was ineffective.                        We affirm.

               “[F]or a guilty plea to be valid, the Constitution imposes

        ‘the      minimum      requirement    that         [the]   plea       be   the   voluntary

        expression of [the defendant’s] own choice.’”                          United States v.

        Moussaoui, 591 F.3d 263, 278 (4th Cir. 2010) (quoting Brady v.

        United States, 397 U.S. 742, 748 (1970)).                            “It must reflect a

        voluntary and intelligent choice among the alternative courses

        of action open to the defendant.”                      Id. (citation and internal

        quotation       marks    omitted).       “In       evaluating        the   constitutional

        validity of a guilty plea, courts look to the totality of the

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        circumstances surrounding [it], granting the defendant’s solemn

        declaration       of      guilt    a     presumption         of    truthfulness.”         Id.

        (citation and internal quotation marks omitted).

              In federal cases, Rule 11 of the Federal Rules of Criminal

        Procedure “governs the duty of the trial judge before accepting

        a   guilty    plea.”         Boykin      v.     Alabama,      395   U.S.    238,    243   n.5

        (1969).      Rule 11 “requires a judge to address a defendant about

        to enter a plea of guilty, to ensure that he understands the law

        of his crime in relation to the facts of his case, as well as

        his rights as a criminal defendant.”                        United States v. Vonn, 535

        U.S. 55, 62 (2002).               We “accord deference to the trial court’s

        decision     as      to   how     best   to     conduct      the    mandated      colloquy.”

        United States v. DeFusco, 949 F.2d 114, 116 (4th Cir. 1991).                               A

        guilty plea may be knowingly and intelligently made based on

        information received before the plea hearing.                             See id. at 117;

        see also Bradshaw v. Stumpf, 545 U.S. 175, 183 (2005) (trial

        court may rely on counsel’s assurance that the defendant was

        properly informed of the elements of the crime).

              “A federal court of appeals normally will not correct a

        legal error made in criminal trial court proceedings unless the

        defendant      first       brought        the       error     to    the    trial    court’s

        attention.”          Henderson v. United States, 133 S. Ct. 1121, 1124

        (2013)     (citing        United    States       v.     Olano,      507    U.S.    725,   731

        (1993)).      Federal Rule of Criminal Procedure 52(b) creates an

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        exception to the normal rule, providing “[a] plain error that

        affects substantial rights may be considered even though it was

        not brought to the court’s attention.”                       Fed. R. Crim. P. 52(b).

               When a defendant does not seek to withdraw her guilty plea

        in the district court, we review any claim that the district

        court erred at her guilty plea hearing for plain error.                                   See

        United States v. Martinez, 277 F.3d 517, 524 (4th Cir. 2002).

        Under that standard, a defendant must show (1) error; (2) that

        was plain; (3) affecting her substantial rights; and (4) that we

        should exercise our discretion to notice the error.                             Id. at 529,

        532.      To show that her substantial rights were affected, she

        “must show a reasonable probability that, but for the error,

        [s]he     would      not   have   entered      the      plea.”         United    States    v.

        Dominguez Benitez, 542 U.S. 74, 83 (2004).

               We have reviewed the record and conclude that the district

        court did not err in accepting Bernal’s guilty plea, and her

        plea      was   knowing     and    voluntary         under       the    totality    of    the

        circumstances.         On appeal, Bernal claims she did not understand

        that she would be sentenced to 32 years, and she suggests that

        her plea may not have been voluntary.                        However, the record shows

        that      she   was    correctly      informed          of     the     mandatory    minimum

        penalties       before     the    district         court     accepted     her    plea;    she

        denied that anyone had forced her to enter her plea against her

        will; she affirmed that she was, in fact, guilty; and there was

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        an independent factual basis to support her plea.                            As a result

        of her plea, the Government dismissed eight other counts that

        would     have   exposed      her      to    an    additional      consecutive          prison

        sentence.        Thus, her decision to plead guilty was a voluntary

        and intelligent choice among the available alternatives.

               Bernal also contends that her sentence is disproportionate

        to the severity of her crimes and constitutes cruel and unusual

        punishment in violation of the Eighth Amendment.                           We review this

        claim de novo.           See United States v. Dowell, 771 F.3d 162, 167

        (4th Cir. 2014).             The Supreme Court “has explained that the

        narrow proportionality principle of the Eighth Amendment does

        not require strict proportionality between crime and sentence,

        but       forbids     only       extreme          sentences       that      are     grossly

        disproportionate to the crime.”                     United States v. Cobler, 748

        F.3d 570, 575 (4th Cir.), cert. denied, 135 S. Ct. 229 (2014)

        (citations and internal quotation marks omitted).                             “Before an

        appellate        court       concludes        that       a      sentence     is     grossly

        disproportionate         based    on    an    as-applied         challenge,       the    court

        first must determine that a threshold comparison of the gravity

        of the offense and the severity of the sentence leads to an

        inference     of     gross    disproportionality.”                Id.    (citations        and

        internal quotation marks omitted).

               We have reviewed the record and conclude that Bernal fails

        to    make   this    threshold      showing         of   gross     disproportionality.

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        Moreover, to the extent that she also contends that her sentence

        is unreasonable, we conclude that this claim is without merit.

        See United States v. Farrior, 535 F.3d 210, 224 (4th Cir. 2008)

        (statutorily required sentence is per se reasonable).

              Finally,        Bernal    arguably          claims     that      her       counsel    was

        ineffective.         Unless an attorney’s ineffectiveness conclusively

        appears on the face of the record, ineffective assistance claims

        are not generally addressed on direct appeal.                           United States v.

        Benton, 523 F.3d 424, 435 (4th Cir. 2008).                           Instead, such claims

        should     be    raised   in    a   motion        brought       pursuant      to   28   U.S.C.

        § 2255 (2012), in order to permit sufficient development of the

        record.      United States v. Baptiste, 596 F.3d 214, 216 n.1 (4th

        Cir. 2010).          Because the record does not conclusively establish

        ineffective assistance of Bernal’s counsel, this claim should be

        raised, if at all, in a § 2255 motion.

              In accordance with Anders, we have reviewed the record and

        have found no meritorious issues for appeal.                                Accordingly, we

        affirm the district court’s judgment.                       This court requires that

        counsel inform his or her client, in writing, of his or her

        right to petition the Supreme Court of the United States for

        further     review.       If    the   client        requests         that    a   petition   be

        filed,     but    counsel      believes      that     such       a    petition      would   be

        frivolous, then counsel may move in this court for leave to

        withdraw from representation.                 Counsel’s motion must state that

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        a copy thereof was served on the client.                     We dispense with oral

        argument because the facts and legal contentions are adequately

        presented in the materials before the court and argument would

        not aid the decisional process.


                                                                                  AFFIRMED




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